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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS



STATE OF NEW YORK;
COMMONWEALTH OF MASSACHUSETTS;                           CASE NO. 1:25-cv-11221
STATE OF ARIZONA; STATE OF
CALIFORNIA; STATE OF COLORADO;
STATE OF CONNECTICUT; STATE OF
DELAWARE; DISTRICT OF COLUMBIA;
STATE OF ILLINOIS; STATE OF MAINE;
STATE OF MARYLAND; THE PEOPLE OF
THE STATE OF MICHIGAN; STATE OF
MINNESOTA; STATE OF NEW JERSEY;
STATE OF NEW MEXICO; STATE OF
OREGON; STATE OF RHODE ISLAND; and
STATE OF WASHINGTON,

                         Plaintiff,

                             v.

DONALD J. TRUMP, in his official capacity as
President of the United States; UNITED
STATES OF AMERICA; DEPARTMENT OF
THE INTERIOR; DOUGLAS BURGUM,
Secretary of the Interior, in his official capacity;
BUREAU OF OCEAN ENERGY
MANAGEMENT; WALTER
CRUICKSHANK, Acting Director of Bureau of
Ocean Energy Management, in his official
capacity; BUREAU OF LAND
MANAGEMENT; JONATHAN RABY, State
Director of the Bureau of Land Management, in
his official capacity; UNITED STATES FISH
AND WILDLIFE SERVICE; PAUL SOUZA,
Regional Director of the United States Fish and
Wildlife Service, in his official capacity;
DEPARTMENT OF COMMERCE; HOWARD
LUTNICK, Secretary of Commerce, in his
official capacity; NATIONAL OCEANIC AND
ATMOSPHERIC ADMINISTRATION;
LAURA GRIMM, Chief of Staff of the
National Oceanic and Atmospheric
Administration, in her official capacity;
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  NATIONAL MARINE FISHERIES SERVICE;
  EUGENIO PIÑEIRO SOLER, Director of the
  National Marine Fisheries Service, in his
  official capacity; UNITED STATES ARMY
  CORPS OF ENGINEERS; LIEUTENANT
  GENERAL WILLIAM H. “BUTCH”
  GRAHAM, JR., Chief of Engineers for the
  United States Army Corps of Engineers, in his
  official capacity; ENVIRONMENTAL
  PROTECTION AGENCY; LEE ZELDIN,
  Administrator of Environmental Protection
  Agency, in his official capacity;
  DEPARTMENT OF AGRICULTURE;
  BROOKE ROLLINS, Secretary of Agriculture,
  in her official capacity; DEPARTMENT OF
  ENERGY; CHRIS WRIGHT, Secretary of
  Energy, in his official capacity;
  DEPARTMENT OF THE TREASURY; and
  SCOTT BESSENT, Secretary of the Treasury,
  in his official capacity,


                        Defendants.




        ALLIANCE FOR CLEAN ENERGY NEW YORK’S MOTION TO INTERVENE

       Now comes the Alliance for Clean Energy New York (ACE NY), by and through its

undersigned counsel, Beveridge and Diamond P.C., and respectfully submits its Motion to

Intervene in this suit to defend its members’ interests as of right pursuant to Federal Rule of Civil

Procedure 24(a)(2), or, alternatively, permissively pursuant to Federal Rule of Civil Procedure

24(b)(1)(B).

       State Plaintiffs challenge the directive in the unlawful Presidential Memorandum entitled

Temporary Withdrawal of All Areas on the Outer Continental Shelf from Offshore Wind Leasing

and Review of the Federal Government’s Leasing and Permitting Practices for Wind Projects,

90 Fed. Reg. 8,363 (Jan. 29, 2025) (Presidential Memorandum) to halt federal approvals of

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wind-energy development and federal agencies’ implementation of that directive. This

Presidential Memorandum directs agencies to indefinitely and categorically abdicate wind

energy federal permitting responsibilities assigned to them by their enabling statutes and

implementing regulations.

       The stoppage of federal wind permitting has greatly impaired ACE NY’s members’

interests in developing wind energy projects and is causing those members irreparable harm.

ACE NY is comprised of various private companies and non-profit organizations interested in

promoting clean energy and creating opportunities for growth in New York’s clean energy

economy. Accordingly, ACE NY should be allowed to intervene pursuant to Federal Rule of

Civil Procedure 24(a)(2), or, alternatively, permissively pursuant to Federal Rule of Civil

Procedure 24(b)(1)(B).

       Counsel for ACE NY has met and conferred with counsel for the parties in this matter.

State Plaintiffs do not oppose this motion. Federal Defendants reserve their position on

intervention until they are able to review ACE NY’s filings.

       Attached as exhibits to this motion are the following:

       ACE NY’s Memorandum of Law In Support of Motion to Intervene

       Declaration of Marguerite Wells, Executive Director of ACE NY

       ACE NY’s Proposed Complaint in Intervention

       ACE NY’s Corporate Disclosure Statement

       Proposed Order Granting ACE NY Motion to Intervene




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       Wherefore, and for the reasons set forth in the accompanying Memorandum, the Alliance

for Clean Energy New York’s respectfully moves that the Court issue an order granting its

Motion to Intervene in support of State Plaintiffs.

       Dated: May 7, 2025

                                                             Respectfully submitted,

                                                      BEVERIDGE & DIAMOND, P.C.

                                                      /s/ Brook J. Detterman
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                                                      Attorneys for Intervenor-Plaintiff
                                                      Alliance for Clean Energy New York


                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was electronically filed on May 7, 2025. Notice of this

filing will be sent to all parties by operation of the Court’s electronic filing system. Parties may

access this filing through the Court’s system.

                                                      BEVERIDGE & DIAMOND, P.C.

                                                      /s/ Brook J. Detterman
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